Case 3:18-cv-00252-CWR-FKB Document 39 Filed 08/24/18 Page 1 of 2




                         ____________________

                       No. 3:18-CV-252-CWR-FKB

      SECURITIES & EXCHANGE COMMISSION,
                                                            Plaintiff,

                                    v.

      ARTHUR LAMAR ADAMS, et al.,
                                                         Defendants.
                         ____________________

                 ORDER REGARDING CONTEMPT HEARING
                        ____________________

         Before CARLTON W. REEVES, District Judge.
      On August 21, 2018, the Receiver notified the Court and the
      parties that a member of KAPA Breeze, LLC “has been paying
      himself out of the LLC’s account, in direct violation of the
      Court’s order unfreezing the account so that it could be used
      in the ordinary course of business.” Docket No. 36 at 16 (foot-
      note omitted).
      By Wednesday, August 29, 2018, the Receiver is requested to
      state whether the member of KAPA Breeze has repaid the
Case 3:18-cv-00252-CWR-FKB Document 39 Filed 08/24/18 Page 2 of 2




      funds in question. If he has not, the Court will set an eviden-
      tiary hearing for early September to consider whether this
      person should be held in civil contempt. See Sec. & Exch.
      Comm'n v. Faulkner, No. 3:16-CV-1735-D, 2018 WL 888910, at
      *3 (N.D. Tex. Feb. 13, 2018).
      SO ORDERED, this the 24th day of August, 2018.
                                             s/ CARLTON W. REEVES
                                          United States District Judge




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